     Case 23-34815 Document 106 Filed in TXSB on 02/01/24 Page 1 of 1
                                                                                        Page 1 of 1


UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-34815
      Galleria 2425 Owner, LLC



      Case Type :                    bk
      Case Number :                  2023-34815
      Case Title :                   Galleria 2425 Owner, LLC

      Audio Date\Time:               1/31/2024 2:19:40 PM
      Audio File Name :              4bk2023-34815_20240131-141940.mp3
      Audio File Size :              63063 KB
      Audio Run Time :               [02:11:23] (hh:mm:ss)




Help using this file:

         An audio file is embedded as an attachment in this PDF document. To listen to the file,
         click the Attachments tab or the Paper Clip icon. Select the Audio File and click Open.

MPEG Layer-3 audio coding technology from Fraunhofer IIS and Thomson.


         This digital recording is a copy of a court proceeding and is provided as
         a convenience to the public. In accordance with 28 U.S.C. § 753 (b)
         "[n]o transcripts of the proceedings of the court shall be considered as
         official except those made from the records certified by the reporter or
         other individual designated to produce the record."
